         Case 1:22-cv-00232-N/A Document 1                Filed 08/05/22   Page 1 of 4

                                                                                         Form 3-1


UNITED STATES COURT OF INTERNATIONAL TRADE                                 FORM 3

                                                      )
JA SOLAR TECHNOLOGY YANGZHOU                          )
CO., LTD, SHANGHAI JA SOLAR                           )
TECHNOLOGY CO., LTD., JA SOLAR CO.,                   )
LTD. (A.K.A. JINGAO SOLAR CO., LTD.)                  )
AND JA SOLAR (XINGTAI) CO., LTD.,                     )
                                                      )
                                     Plaintiffs,      )       SUMMONS Ct. No. 22-00232
                                                      )
                           v.                         )
                                                      )
UNITED STATES,                                        )
                                                      )
                                     Defendant.       )


TO:    The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
       Customs and Border Protection, and/or the United States International Trade
       Commission:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to
       28 U.S.C. § 1581(c) to contest the determination described below.

                                            /s/ Mario Toscano
                                            Clerk of the Court


  1.     Plaintiffs in this action are JA Solar Technology Yangzhou Co., Ltd, Shanghai JA Solar
         Technology Co., Ltd., JA Solar Co., Ltd. (a.k.a. JingAo Solar Co., Ltd.) and JA Solar
         (Xingtai) Co., Ltd., manufacturers/exporters of the subject merchandise. Plaintiffs were
         parties to the proceeding that led to the contested determination and are interested
         parties pursuant to 19 U.S.C. § 1677(9)(A). Plaintiffs thus have standing to bring this
         action pursuant to 28 U.S.C. § 2631(c) and 19 U.S.C. § 1516a(d).
         (Name and standing of plaintiff)

  2.     Plaintiffs contest certain aspects of the final results of the eighth countervailing duty
         administrative review of Crystalline Silicon Photovoltaic Cells, Whether or Not
         Assembled Into Modules, From the People’s Republic of China made by the U.S.
         Department of Commerce’s International Trade Administration. The contested final
         results were published in the Federal Register as Crystalline Silicon Photovoltaic Cells,
         Whether or Not Assembled Into Modules, From the People’s Republic of China: Final
         Results and Partial Rescission of Countervailing Duty Administrative Review; 2019, 87
         Fed. Reg. 40,491 (Dep’t Commerce July 7, 2022) (“Final Results”).
         (Brief description of contested determination)
         Case 1:22-cv-00232-N/A Document 1             Filed 08/05/22      Page 2 of 4

                                                                                          Form 3-2



   3.    The Final Results were signed on June 29, 2022.
         (Date of determination)

   4.    The Final Results were published in the Federal Register on July 7, 2022.
         (If applicable, date of publication in Federal Register of notice of contested
         determination)

                                                     /s/ Jeffrey S. Grimson
                                                     Jeffrey S. Grimson
                                                     Kristin H. Mowry
                                                     Jill A. Cramer
                                                     Sarah M. Wyss
                                                     Bryan P. Cenko
                                                     Yixin (Cleo) Li
                                                     Jacob M. Reiskin
                                                     Mowry & Grimson, PLLC
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                                                     Washington, DC 20015
                                                     202-688-3610
                                                     trade@mowrygrimson.com
                                                     Counsel to Counsel to JA Solar Technology
                                                     Yangzhou Co., Ltd, Shanghai JA Solar
                                                     Technology Co., Ltd., JA Solar Co., Ltd.
                                                     (a.k.a. JingAo Solar Co., Ltd.) and JA Solar
                                                     (Xingtai) Co., Ltd.


Date: August 5, 2022




                                                2
Case 1:22-cv-00232-N/A Document 1   Filed 08/05/22   Page 3 of 4

                                                                   Form 3-2




                    SEE REVERSE SIDE




                             3
  Case 1:22-cv-00232-N/A Document 1               Filed 08/05/22     Page 4 of 4

                                                                                    Form 3-3




                 SERVICE OF SUMMONS BY THE CLERK

          If this action, described in 28 U.S.C. § 1581(c), is
       commenced to contest a determination listed in section
       516A(a)(2) or (3) of the Tariff Act of 1930, the action is
       commenced by filing a summons only, and the clerk of the
       court is required to make service of the summons. For that
       purpose, list below the complete name and mailing address of
       each defendant to be served.

               Attorney-in-Charge
               International Trade Field Office
               Commercial Litigation Branch
               U.S. Department of Justice
               26 Federal Plaza
               New York, NY 10278-0140

               General Counsel
               U.S. Department of Commerce
               14th & Constitution Avenue, NW
               Washington, DC 20230

               Attorney-in-Charge
               Commercial Litigation Branch
               Civil Division
               U.S. Department of Justice
               Civil Division Room, 12124
               1100 L Street, NW
               Mail Stop 5875 HCHB
               Washington, DC 20530




(As amended July 21, 1986, eff. Oct. 1, 1986; Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28,
2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017;
Oct. 25, 2017, eff. Oct. 25, 2017; Sept. 18, 2018, eff. Oct. 15, 2018.)
